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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                   NORTHERN DIVISION

TERESA WILSON; RYAN SANDERS; SUSAN
CANADA; TABATHA SIDI; JOLINA
MANLEY; HEATHER LOWREY; CASSANDRA
MARTELL; ASHLEY POPA; JESSICA DAVID;
and LESLIE AINSWORTH, Each Individually
and on Behalf of All Others Similarly Situated            PLAINTIFFS

v.                       No. 3:21-cv-82-DPM

WALMART, INC. and
DOES 1–10, inclusive                                    DEFENDANTS

BRANDI COLEMAN; TIFFANY NEAL;
FELICIA DYKES; DOMINICK GROSSI;
GALENA GUTIERREZ; ANTHONY
HARRISON; VITO SCAROLA; MELISSA
DINOVI; and BAYLEE SCHAEFER                               PLAINTIFFS

v.                      No. 3:21-cv-115-DPM

WALMART, INC.                                            DEFENDANT

                               ORDER
     In the wake of a report by a subcommittee of the U.S. House of
Representatives, many cases alleging contamination of baby foods have
been filed. Two are pending here. Both are about Walmart’s Parent’s
Choice brand and are against that retailer alone. The parties’ joint
motion to consolidate and for other relief, Doc. 24 in No. 3:21-cv-82-
        Case 3:21-cv-00082-DPM Document 26 Filed 08/19/21 Page 2 of 2




DPM, is granted as modified. Common questions of law and fact
predominate; consolidation for pretrial matters makes good sense.
FED. R. CIV. P. 42(a)(2). The Court designates No. 3:21-cv-82-DPM as
the lead case. Please use the joint style above in all future filings.
      Joint motion to appoint interim class counsel due by 20 September
2021. Consolidated complaint due by 18 October 2021. Proposed Final
Scheduling Order due by 17 November 2021. Any future related case
will be handled in the normal course. Motion to dismiss, Doc. 18 in No.
3:21-cv-82-DPM, denied without prejudice as moot. Stays lifted, but
Walmart need not respond in No. 3:21-cv-115-DPM. Walmart’s answer
or Rule 12(b) motion is due thirty days after the consolidated complaint
is filed.
      So Ordered.


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                                   D.P. Marshall Jr.
                                   United States District Judge

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